       Case: 1:25-cr-00166-BMB Doc #: 5 Filed: 05/01/25 1 of 1. PageID #: 28




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

UNITED STATES OF AMERICA,                          )   CASE NO.: 1:25CR166
                                                   )
               Plaintiff,                          )
                                                   )
       v.                                          )
                                                   )
CHINEDU OPUTE,                                     )   MOTION TO REVIEW MAGISTRATE’S
                                                   )   RELEASE ORDER AND MOTION TO
               Defendant.                          )   HOLD ORDER OF RELEASE IN
                                                   )   ABEYANCE

       The United States of America, by and through counsel, Carol M. Skutnik, Acting United

States Attorney, and Megan R. Miller, Assistant United States Attorney, appeals the order of

Magistrate Judge Justin S. Anand of the Northern District of Georgia releasing Defendant

Chinedu Opute on conditions, pursuant to Title 18, United States Code, Section 3145. The

United States intends to file a memorandum in support by close of business today. Magistrate

Judge Anand has indicated that he intends to release Defendant the morning of May 2, 2025, if

this Court has not granted a stay. Thus, the United States respectfully moves this Court for an

order holding Magistrate Judge Anand’s order in abeyance pending this Court’s decision on the

United States’s motion.

                                                       Respectfully submitted,

                                                       CAROL M. SKUTNIK
                                                       Acting United States Attorney

                                             By:       /s/ Megan R. Miller
                                                       Megan R. Miller (OH: 0085522)
                                                       Assistant United States Attorney
                                                       United States Court House
                                                       801 West Superior Avenue, Suite 400
                                                       Cleveland, OH 44113
                                                       (216) 622-3855/(216) 522-2403 (facsimile)
                                                       Megan.R.Miller@usdoj.gov
